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                                     UNITED STATES DISTRICT COURT
                                     SOUTHERN DISTRICT OF INDIANA
                                         INDIANAPOLIS DIVISION



      In Re: COOK MEDICAL, INC., IVC FILTERS
      MARKETING, SALES PRACTICES AND                                 Case No. 1:14-ml-2570-RLY-TAB
      PRODUCTS LIABILITY LITIGATION                                  MDL No. 2570


      This Document Relates to All Actions


                       MOTION FOR APPROVAL AND ENTRY OF
                 FOURTH AMENDED CASE MANAGEMENT ORDER NO. 4
         (PARTY PROFILE, FACT SHEET AND CASE CATEGORIZATION PROTOCOL)
                  Counsel for Cook Defendants hereby moves for entry of the parties agreed Fourth

      Amended Case Management Order No. 4, and in support states:

                  1. Counsel for Cook Defendants recently filed several Notice of Change of Attorney

      Information consistent with Local Rule 5-3, reflecting a change in email domain name to

      @faegredrinker.com, and law firm to Faegre Drinker Biddle & Reath LLP. See Dkts. 12739,

      12740, and 12742.

                  2. As a result of the Change of Attorney Information and the addition of a Case

      Categorization Form procedure under separate Court Order [Dkts. 9322, 9638, and 10617], certain

      provisions of the existing Third Amended Case Management Order No. 4: Party Profile Forms &

      Fact Sheets Protocol [Dkt. 4226] require updating.

                  3. Cook Defendants have also incorporated a revised process for handling non-compliance,

      or the failure to serve the required forms, with the goal of reducing the burden placed on the Court.

                  4. Cook Defendants have prepared the attached proposed Fourth Amended Case

      Management Order No. 4 (“Proposed Order”) and Plaintiff’s Liaison Counsel & State/Federal

      Liaison Counsel, Joseph N. Williams, has agreed to the entry of the Proposed Order.



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        WHEREFORE, Cook Defendants move for entry of the agreed Fourth Amended Case

Management Order No. 4, and for all other proper relief.




                                                Respectfully Submitted,

                                                /s/ Kip S.M. McDonald
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                                                LLC, and William Cook Europe ApS




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                                       CERTIFICATE OF SERVICE

        I hereby certify that on March 5, 2020, a copy of the foregoing Motion for Approval and Entry of

Fourth Amended Case Management Order No. 4 was filed electronically and notice of the filing of this

document will be sent to all parties by operation of the Court’s electronic filing system to CM/ECF

participants registered to receive service in this matter. Parties may access this filing through the Court’s

system.




                                                            /s/ Kip S.M. McDonald




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